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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

ALLIANCE LAUNDRY SYSTEMS LLC,

        Plaintiff,

v.

TRUDY ADAMS, et al.,

        Defendants.
----------------------------------------------------
TRUDY ADAMS, JOHN “CLAY” WILLIAMS,
                                                       Case No.: 23-cv-22130-MCR-ZCB
        Defendants/Counterclaim
        Plaintiffs,

v.

ALLIANCE LAUNDRY SYSTEMS LLC,
GREG REESE, MIKE HAND, and
SAMANTHA BAKER,

        Plaintiff/Counterclaim Defendants/
        Third-Party Defendants.


        ALLIANCE’S RESPONSE TO DEFENDANTS’ MOTION TO STRIKE
            EXPERT DECLARATION OF MARK LANTERMAN AND
                   EXCLUDE LANTERMAN’S TESTIMONY


        Mr. Mark Lanterman and his company, Computer Forensic Services, are

eminently qualified to provide forensic expert testimony and opinions in this

case. Mr. Lanterman’s declaration and testimony are straight-forward, reliable,

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corroborated by Defendants’ own testimony and evidence, and will assist the

trier of fact in this case. Defendants’ Motion to Strike should therefore be

denied.

                                     BACKGROUND

A.      MR. LANTERMAN’S QUALIFICATIONS

        As detailed in Mr. Lanterman’s expert declaration and attached

curriculum vitae, Mr. Lanterman has over thirty-five years of experience in

digital forensics and cybersecurity. His credentials are as impressive as they

are extensive. (See Expert Declaration of Mark Lanterman, June 21, 2024

“Original Decl.” ECF No. 155-2 and Amended Expert Declaration of Mark

Lanterman, January 10, 2025, “Amended Decl.,” ECF No, 155-3.) 1

        As set forth in Mr. Lanterman’s declaration, in the four years prior to the

date of his declaration, he provided testimony in seventy-nine lawsuits in

courts throughout the United States. (See Amended Decl., ¶3, Ex. A.) Mr.

Lanterman has been certified by the United States Department of Homeland

Security as a “Seized Computer Evidence Recovery Specialist” and has been

certified in computer forensics by the National White-Collar Crime Center. (Id.,

¶5.) Mr. Lanterman has been appointed by both state and federal courts to act


1 For convenience and brevity, Alliance will cite primarily to the Amended Decl. as it is the

most recent document and includes everything in the Original Decl. plus additional
information following production of Clay Williams’ USB drive.
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as a neutral computer forensic analysist or special master numerous times.

(Id.) He has provided training and delivered keynote addresses regarding e-

discovery and cybersecurity to the United States Supreme Court, the Eleventh

Circuit Federal Judicial Conference, the Eight Circuit Judicial Conference, the

Southern District of Georgia, the Western District of Tennessee, and several

other state judicial conferences. (Id., ¶10.) He currently serves on the Arizona

Supreme Court’s Steering Committee on Artificial Intelligence and the Courts.

(Id., ¶9.)

       Mr. Lanterman is currently a faculty member of the University of St.

Thomas School of Law and the National Judicial College in Reno, Nevada. He

previously served as adjunct faculty of computer science for the University of

Minnesota Technological Leadership Institute’s Master of Science and Security

Technologies program. (Id., ¶7.)

       Mr. Lanterman also has extensive experience in law enforcement. Not

only has he served as a law enforcement officer in two jurisdictions, he has been

sworn in as a U.S. Marshal and has served on the United States Secret Service

Electronic Crimes Task Force. (Id., ¶5; ; Giftos Decl., ¶2, Ex. 1 at 67:7-71:14.)

While no longer an acting law enforcement officer, Mr. Lanterman’s company,

Computer Forensic Services, holds a corporate private detective license issued

by the State of Minnesota Board of Private Detective and Protective Agent

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Services and serves as the digital crime lab for dozens of law enforcement

agencies in Minnesota. (Amended Decl., ¶¶13, 15; Giftos Decl., ¶2, Ex. 1 at

17:12-18:7.)

        Computer Forensic Services has been awarded a Multiple Award

Schedule contract for the United States General Services Administration after a

rigorous inspection and technical competence evaluation of knowledge,

abilities, competency and procedures in cybersecurity and related forensics.

(Amended Decl., ¶14.)

        Mr. Lanterman earned a Bachelor of Science and Master’s degree in

computer science from Upsala College and a certificate in Cybersecurity:

Managing Risk in the Information Age from Harvard. (Id., ¶¶6; Giftos Decl., ¶2,

Ex. 1 at 48:5-53:2.) As discussed in more detail in Section C below, Defendants

have taken great pains to attempt to discredit Mr. Lanterman by questioning

his credibility on whether he obtained his degrees from Upsala College thirty-

five years ago because he no longer has evidence of his attendance. However,

there is no evidence Mr. Lanterman falsified his credentials. To the contrary,

Mr. Lanterman stands by his credentials. (Id. at 10:16; 61:16.)

B.      METHODOLOGY AND FINDINGS

        Mr. Lanterman and Computer Forensic Services provide digital forensic

analysis work in both civil and criminal matters. (Id. at 19:2-22:1.) The

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majority of the civil cases they work on include allegations that are similar to

those in this case, which involve allegations of theft of intellectual property.

(Id.) Regardless of the type of case or the party they work with, however,

Computer Forensic Services’ forensic methods are always the same, as their

methods include performing a strictly technical function as opposed to an

analytical function. (Id.) No matter what side retains them, the results are what

they are. (Id.)(“It doesn’t matter to us which side retains us, the- you know, it-

I – I hate they saying “it is what it is,” but typically we’re preforming a – a-

strictly technical function.”) Indeed, this is one reason Computer Forensic

Services is frequently appointed as a neutral or special master in cases because

“it doesn’t matter which side hires us; the outcome would still be the same.”

(Id.)

        1. METHODOLOGY USED IN THIS CASE

        Mr. Lanterman’s methodology and analysis in this case is straight-

forward. After receiving defendant Adams’ and defendant Williams’ Alliance-

issued laptop computers, Mr. Lanterman and his team created forensic images

of each of the laptops. (Amended Decl., ¶¶17-19; Giftos Decl., ¶2, Ex. 1 at

104:15-113:2.) Once the images were created, Lanterman and his team

identified the activities they were able to observe on those images by reviewing

Microsoft Outlook, email container files, Windows operating systems records

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and browser files. (Amended Decl., ¶¶29-51.) Mr. Lanterman attached three

exhibits to his declaration that specify the email and file activity observed on

those devices, including (without limitation) emails Adams and Williams sent

to their personal email accounts and 3,712 files defendant Williams copied to a

USB drive on July 10, 2023, days before resigning from Alliance. (See id., Exs. B-

D.)

      In December 2024, after repeatedly claiming in discovery responses that

he had no USB devices, defendant Williams produced a forensic image of a USB

drive. 2 (See id., ¶52; Giftos Decl. ¶6, 7; Exs. 2, 3.) Mr. Lanterman and team

analyzed the image produced and were able to confirm it was the very same

USB device they identified in Mr. Lanterman’s report that Mr. Williams had used

and downloaded files to during their initial forensic investigation. (See

Amended Decl., ¶53.) Mr. Lanterman updated his declaration in January 2025

to identify these findings. (See id., ¶¶23, 52-57.)

               i.   ANALYSIS OF ADAMS’ AND WILLIAMS’ ALLIANCE-ISSUED
                    LAPTOPS

      As to the first two forensic images, Mr. Lanterman has explained that his

team received the Alliance-issued laptop devices used by Ms. Adams and Mr.

Williams during their employment via FedEx on March 21, 2024. (Amended


2 Ms. Adams never produced a forensic image or device requested in this lawsuit.


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Decl., ¶17; Giftos Decl., ¶2, Ex. 1 at 129:9-131:21.) Each of the laptops was

encrypted using Microsoft BitLocker, which is a popular encryption software

designed to protect the integrity of the data on the device it resides. (Amended

Decl., ¶¶19-20.) Essentially, BitLocker prevents anyone from accessing the

device unless they have the user’s login credentials or an encryption key. (See

Giftos Decl., ¶2, Ex. 1 at 110:4-111:14; 148:21-151:15; 206:8-12.)

       Mr. Lanterman worked with Alliance’s IT team to obtain the information

necessary to decrypt the laptops and access their data for the purpose of

preserving and analyzing each of the laptops. (Amended Decl. ¶19, Giftos Decl.,

¶2, Ex. 1 at 148:21-151:15.) After obtaining the information necessary to

access the content of the laptops, Mr. Lanterman created a forensic copy of the

laptops’ hard drives, preserving their data and operating systems. (Amended

Decl., ¶ 20.) The preservation process was necessary to conduct a complete

examination of the laptops and permitted Mr. Lanterman to assemble a timeline

of user activities. (Id.). 3

       During his deposition, Mr. Lanterman explained the steps that are

typically taken in creating forensic images and, to his recollection, the specific




3
  Complete copies of each of the two forensic images that served as the basis of Mr.
Lanterman’s opinions, were delivered to Defendants’ consultant, BRG, on December 6, 2024.
(Giftos Decl. ¶8.)
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steps taken to create the forensic images in this case, which included

communicating with Alliance regarding the laptop credentials, obtaining the

necessary BitLocker keys or login credentials, connecting the device to a write

blocker, which protects against inadvertent modification of the hard drive,

plugging those into an imaging device, and creating the images. (Giftos Decl.,

¶2, Ex. 1 at. 104:15-113:2; 133:1-25; 142:7-18.) The software used by

Lanterman and team to create the image is a program called DD. (Id. at 142:7-

15.)

       Mr. Lanterman and team then analyzed the content of each image. Mr.

Lanterman testified that they used the “very well-known commercially

available” computer forensic application call Axiom as part of their

investigation.   (Id. at 173:11-174:7).       They used the Axiom software for

searching and putting together their timelines of activity and to identify USB

activity on Adams’ and Williams’ laptops. (See id.)

       As part of their analysis, Mr. Lanterman and team reviewed the content

of the Outlook email container files on each device. (Amended Decl., ¶¶30-35,

40-46, Exs. A and B.) They were able to observe that Ms. Adams sent or received

at least 37 emails from her Alliance-issued email account to her personal, non-

Alliance email account between January 5, 2023 and May 19, 2023, which was

her last day at Alliance. (See id.) Many of those emails had attachments. (See

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id.) Those emails were identified with specificity in Exhibit B to Lanterman’s

Declaration. (See id.) Examples of the emails observed include a deleted email

dated March 27, 2023 with the subject line “All” that was sent from Adams’

Alliance email account to her personal email account. The email contained a

spreadsheet listing of contact account information for 1,234 contacts. (See id.)

This email was produced in discovery by Alliance. (Giftos Decl., ¶9, Ex. 5.) This

email was later sent on April 20, 2023, also produced by both Alliance and

Defendants. (Id. ¶10, Ex. 6.) The email comprises a comprehensive report

generated from Alliance’s customer relationship management software and

includes Alliance customer and prospect information. (Amended Decl., ¶34;

Giftos Decl. ¶10, Ex. 6; ECF 167 at 7.)

      Mr. Lanterman and team also analyzed Ms. Adams’ laptop for evidence

from Windows operating system records to determine whether Ms. Adams

engaged in activity consistent with the access or copying of files to extrinsic

sources, such as USB drives. (Amended Decl., ¶¶37-39.) Mr. Lanterman found

that the evening prior to her separation from Alliance, at approximately 5:48

PM (Central), Adams attached a SanDisk Cruzer USB drive to her Alliance-

issued laptop. (Id.) The image did not contain sufficient information to

determine whether or what files were accessed and, despite requesting the



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device during discovery, Ms. Adams never produced a USB device. (Id., ¶¶ 37-

40; Giftos Decl., ¶¶11,12; Exs. 7,8.)

      Mr. Lanterman performed a similar analysis of the forensic image of Mr.

Williams’ Alliance issued laptop and found that Mr. Williams also emailed

numerous emails and files from his Alliance-issued account to his personal,

non-Alliance email account. (Amended Decl., ¶¶42-45. Ex. C.) Information on

each of those emails and their attachments are identified in Exhibit C to

Lanterman’s Declaration. (Id.)

      Mr. Lanterman also observed that on July 10, 2023, three days prior to

Mr. Williams’ departure from Alliance, Mr. Williams accessed his personal

Gmail account via web browser, and reviewed the content of an email bearing

the subject line “FW: Trudy List.” (Id., ¶47.) While Defendants did not produce

this email until the last day of discovery, they ultimately did produce it. (Giftos

Decl., ¶¶13-16, Exs.9-12.) That email contained an attachment of partial

information regarding Alliance customers. (See id.) Shortly after receiving this

email, Williams sent the document back to Adams, with updated contact and

deal information pertaining to Alliance customers. (Giftos Decl., ¶17; Ex.13.)

      Mr. Lanterman and team also observed via Microsoft Windows records

that approximately two hours later on the same day, Mr. Williams attached a

USB device and copied 3,712 documents to that device. (Amended Decl., ¶47-

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51.) Mr. Lanterman attached as Exhibit D to his declaration a detailed listing of

those files. (Id., Ex. D.)

           ii.   ANALYSIS OF FORENSIC IMAGE OF USB DEVICE PRODUCED
                 BY DEFENDANTS

       On December 13, 2024, defendants produced a forensic image of a USB

device. (Id., ¶52.) Mr. Lanterman and team then analyzed that forensic image

and were able to conclusively identify that it was the same SanDisk Cruzer Glide

USB drive with the same serial number that they had previously observed had

been attached to Williams’ Alliance-issued laptop to download over 3700 files.

(Id., ¶¶52-55 and fn. 8.)

       They were also able to identify that the vast majority of the 3,720 files on

the USB forensic images were the same as the files they identified as having

been downloaded from Williams’ laptop on July 10, 2023. (See id.) Mr.

Lanterman was able to make this determination by comparing the hash values

of the files on Williams’ laptop image with the hash values of the files on the

USB image. (See id.) In his report, Mr. Lanterman explains that a hash value is

a “digital fingerprint” that is unique to a file and its content. (See id.)

       Mr. Lanterman was also able to observe that the USB device produced by

Mr. Williams had been attached to other, unascertainable computers on at least

four occasions after Mr. Williams downloaded the files on July 10, 2023. (See


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id.) Specifically, they were attached to computers on July 21, 2023, July 23,

2023, August 11, 2023 and July 17, 2024 4 and were, on two of those dates,

downloaded en masse. (Id., ¶¶56-57.)

          iii.   PEER REVIEW CONDUCTED

       At Computer Forensic Services, it is standard procedure to peer review

all of the forensic work they conduct. (Declaration of Sean Lanterman, March

28, 2025 “S. Lanterman Decl.,” ¶3.) This occurs at multiple stages. (Id.) First,

once data is made available for analysis or otherwise preserved (e.g., by the

creation of forensic copies of source devices/material), the lead analyst as well

as two (2) additional Computer Forensic Services analysts, each conduct their

own independent analyses of such data. Once these independent analyses are

completed, the results are shared between the assigned personnel for purposes

of comparison and discussion about their respective �indings. (Id., ¶4.) Then,

when a report or other dispositional communication is prepared for

submission, the other two (2) Computer Forensic Services forensic analysts

review its content to ensure that it is complete and factually accurate. (Id.,¶5.)

       Computer Forensic Services’ extensive peer review process was

undertaken in this case, with three seasoned forensic analysts reviewing the


4
 Notably, the July 17, 2024 was between Defendants’ two sets of discovery responses dated
June 24, 2024 and October 8, 2024 wherein in each they claimed the USB did not exist.
(Giftos Decl., ¶¶6, 7; Exs. 2, 3.)
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forensic images and fact checking the final findings. (See id., ¶6; see also Giftos

Decl. ¶2, Ex. 1 at 14:3-15:16; 211:13-19.)

          iv.   ANALYSIS CONFIRMED BY DOCUMENTS AND EVIDENCE
                PRODUCED IN THIS CASE

      Mr. Lanterman’s observations of emailing, browser access and

downloading by Ms. Adams and Mr. Williams have been confirmed by the

documents and evidence submitted by both parties in this case. Indeed, as set

forth above, Williams produced the USB device that he used to download

thousands of files, which included the files identified in Lanterman’s

Declaration. When asked about the USB drive, Williams admitted that he

downloaded the files from his Alliance device to the USB Drive. (Id.., ¶18, Ex. 14

at 123:6-23)

      While defendants Adams and Williams largely testified that they “don’t

recall” their activities or communications with each other prior to leaving

Alliance, Defendants produced many of the emails that were identified in Mr.

Lanterman’s report. For example, Defendants have produced every single

document identified in Exhibit C to the Lanterman Declaration. (Giftos Decl.,

¶19, Ex. 15.)

      On the last day of discovery, Adams also produced the “FW: Trudy’s List”

email that Mr. Lanterman observed Williams reviewing on July 10, 2023 along


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with Mr. Williams’ response. (Giftos Decl., ¶17, Ex. 13.)         That email and

attachment, which are discussed in Alliance’s motion for summary judgment

(ECF No. 167, pp. 12-15), demonstrate that Adams sent Williams an email on

July 10, 2023 at 11:31 am entitled “Trudy’s List.” (Id. 14) That email included

an excel spreadsheet attachment that contained a partial list of laundry

businesses. (Id.) The same day, at 12:18 am, Williams responded, sending

Adams an updated spreadsheet that included customer names, contact

information and notes regarding the businesses. (Id. at 15)           All of the

information updated by Williams were Alliance customers. (Id. at 13-15.)

C.    DEFENDANTS DID NOT RETAIN OR DISCLOSE THEIR OWN
      TESTIFYING FORENSIC EXPERT SO THEY RESORT TO
      UNSUBSTANTIATED ALLEGATIONS OF PERJURY.

      The Defendants made a strategic choice not to retain a testifying forensic

expert in this case. After substituting counsel in September 2024, Defendants

attempted to reverse course and moved the Court to reopen the expert

disclosure schedule. (ECF Nos. 61, 67.) The Court denied that request (ECF No.

74), presumably because the expert disclosure deadline, which had been

extended multiple times, had long passed.

      Because Defendants do not have their own testifying forensic expert,

Defendants have resorted to unprecedented and repeated unsubstantiated

personal attacks on Mr. Lanterman.

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       Indeed, Defendants’ counsel spent a significant amount of time during Mr.

Lanterman’s deposition accusing him of lying about his college education

because they had been unable to locate his transcript from another entity which

reportedly now maintains Upsala’s transcript files after it lost accreditation and

closed thirty years ago. 5 (Giftos Decl. ¶2, Ex. 1 at. 28:18-66:25, 87:19-88:23,

269:17-271:20.)

       Mr. Lanterman testified that he had attended Upsala College and had

received a bachelor’s degree and a master’s degree in computer science in the

1980s. (Id. ¶2, Ex. 1 at 28:20-29:2.) He testified that he was a commuter student

that lived with his grandparents at the time, who lived in Morristown, New

Jersey, which is approximately thirty minutes from the college. (Id. ¶2, Ex. 1 at

30:6-16.)

       He testified that his understanding was that Upsala College was shut

down by the state of New Jersey in the early 1990s. (Id. ¶2, Ex. 1 at 29:4-16.)

While he didn’t closely follow what was going on with the school, his

understanding was that the school shut down following allegations of financial

fraud and due to bad recordkeeping. (Id. ¶2, Ex. 1 at 39:10-19.) He opined that



5
  Notably, Defendants’ counsel also accused Mr. Lanterman of lying about his Harvard
certification during his deposition, but now they appear to have corroborated that
information as they do not raise it in their motion.

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may have been why counsel for defendants were unable to obtain his transcript.

He also testified that he had previously attempted to get his transcript and was

unable to obtain it. (Id. ¶2, Ex. 1 at 33:2-11.)




      The allegations against Mr. Lanterman by

Defendants in this case, has in the past few weeks resulted in significant media

coverage and Mr. Lanterman being investigated due to his inability to verify his




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educational credentials at Upsala College. (Id. ¶20, Ex. 4.) As a result, Computer

Forensic Services has been forced to make the difficult decision of requesting

Mr. Lanterman to step down from his duties as a forensic analyst at Computer

Forensic Services until the investigations against him are completed. (S.

Lanterman Decl., ¶¶7-8.)

      While Alliance is continuing to conduct its own investigation and due

diligence on this issue since it has arisen, one thing is clear: whether or not Mr.

Lanterman went to Upsala College is an open issue under investigation and

difficult to determine given Upsala College closed thirty years ago and

apparently has partial records disbursed among two new institutions. (Id. ¶20,

Ex. 4).

      Regardless, in the wake of the sideshow presented by Defendants

regarding Upsala College, Alliance (at great expense) has confirmed much of

Mr. Lanterman’s experience, including his employment with two police

departments, involvement in the United States Secret Service, being confirmed

as a U.S. Marshal, being a member of the Hopkins Police Department, and being

faculty at various institutions. Alliance’s investigation is ongoing. (Id. ¶¶3-5,

25-27, Exs. 20-23.)



                       ARGUMENT AND AUTHORITIES

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I.         MARK LANTERMAN IS HIGHLY QUALIFIED IN COMPUTER
           FORENSICS, HIS EXPERT TESTIMONY AND OPINIONS ARE RELIABLE
           AND HIS OPINIONS WILL ASSIST THE FINDER OF FACT IN THIS CASE.

           The requirements for the admission of expert testimony in light of

     Daubert are well known. “Expert testimony may be admitted into evidence if:

     (1) the expert is quali�ied to testify competently regarding the matters he

     intends to address; (2) the methodology by which the expert reaches his

     conclusions is suf�iciently reliable as determined by the sort of inquiry

     mandated in Daubert; and (3) the testimony assists the trier of fact, through the

     application of scienti�ic, technical or specialized expertise, to understand the

     evidence or to determine a fact in issue.” City of Tuscaloosa v. Harcros Chemicals,

     Inc., 158 F.3d 548, 562 (11th Cir.1998). There are thus three discrete inquiries:

     quali�ications, relevance, and reliability. See Quiet Technology DC–8, Inc. v.

     Hurel–Dubois UK Ltd., 326 F.3d 1333, 1341 (11th Cir.2003) (although there is

     “some overlap” among these inquiries, they “are distinct concepts that courts

     and litigants must take care not to con�late.”). The burden of establishing these

     three requisites lies with the proponent of the evidence. United States v. Frazier,

     387 F.3d 1244, 1260 (11th Cir.2004) (en banc ).

           “Faced with a proffer of expert scienti�ic testimony ... the trial judge must

     determine at the outset, pursuant to Rule 104(a), whether the expert is

     proposing to testify to (1) scienti�ic knowledge that (2) will assist the trier of

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fact to understand or determine a fact in issue. This entails a preliminary

assessment of whether the reasoning or methodology underlying the testimony

is scienti�ically valid and of whether that reasoning or methodology properly

can be applied to the facts in issue.” Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. at 592–93, 113 S.Ct. at 2796 (1993).

      A. MR. LANTERMAN IS QUALIFIED TO TESTIFY COMPETENTLY
         REGARDING THE MATTERS SET FORTH IN HIS EXPERT
         DECLARATION.

      Experts may be quali�ied in various ways. Fed R. Evid. 702; U.S. v. Frazier,

387 F.3d 1244, 1260 (11th Cir. 2004). While scienti�ic training or education may

provide possible means to qualify, experience in a �ield may offer another path

to expert status. Id., 1260-1261. “In fact, the plain language of Rule 712 makes

this clear: expert status may be based on ‘knowledge, skill, experience, training

or education.” Id. at 1261 (emphasis in original). “The Committee Note to the

2000 Amendments of Rule 702 also explains that ‘[n]othing in this amendment

is intended to suggest that experience alone … may not provide a suf�icient

foundation for expert testimony.” Id., quoting Fed.R.Evid. 702 advisory

committee’s note (2000 amends.).

      Here, as detailed above and in Mr. Lanterman’s expert declarations, Mr.

Lanterman has thirty-�ive years of experience in computer forensics. He has

been involved in hundreds, if not thousands, of cases over the years and, has

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provided the exact type of technical forensic review and observation that he is

providing in this case. He has received extensive training and certi�ications in

computer forensics. Even if Mr. Lanterman did not go to Upsala College – which

he states he did – he is still more than quali�ied to provide the very

straightforward technical analysis that he is providing in this case.

      B. MR. LANTERMAN’S METHODOLOGY IS RELIABLE.

      In ascertaining the reliability of a particular scienti�ic expert opinion,

courts consider, to the extent possible: (1) whether the expert’s theory can be

and has been tested; (2) whether the theory has been subjected to peer review

and publication; (3) the known or potential rate of error of the particular

scienti�ic technique; and (4) whether the technique is generally accepted in the

scienti�ic community. McCorvey, 298 F.3d at 1256 (citing Daubert, 509 U.S. at

593–94, 113 S.Ct. at 2796–97). Notably, however, these factors do not exhaust

the universe of considerations that may bear on the reliability of a given expert

opinion, and a federal court should consider any additional factors that may

advance its Rule 702 analysis. See Kumho Tire, 526 U.S. at 150, 119 S.Ct. at 1175.

      That said, while “[r]ulings on admissibility under Daubert inherently

require the trial court to conduct an exacting analysis of the proffered expert’s

methodology,” McCorvey, 298 F.3d at 1256, it is not the role of the district court

to make ultimate conclusions as to the persuasiveness of the proffered

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evidence. Indeed, “[a] district court’s gatekeeper role under Daubert ‘is not

intended to supplant the adversary system or the role of the jury.’ ” 253 F.3d at

666 (quoting Allison v. McGhan 184 F.3d 1300, 1311 (11th Cir.1999)). Quite the

contrary, “[v]igorous cross-examination, presentation of contrary evidence,

and careful instruction on the burden of proof are the traditional and

appropriate means of attacking shaky but admissible evidence.” Daubert, 509

U.S. at 596, 113 S.Ct. at 2798. It would be an error for a district court to

misconstrue its role as a “gatekeeper” envisioned by Daubert if it attempted to

evaluate the credibility of an expert or the persuasiveness of competing

scienti�ic studies, as that role is for a fact �inder. See Ambrosini v. Labarraque,

101 F.3d 129, 141 (D.C.Cir.1996) (“By attempting to evaluate the credibility of

opposing experts and the persuasiveness of competing scienti�ic studies, the

district court con�lated the questions of the admissibility of expert testimony

and the weight appropriately to be accorded such testimony by a fact �inder”).

      Here, Defendants claim Mr. Lanterman’s testimony is “not reliable” for

two reasons. Speci�ically, they claim Mr. Lanterman’s testimony and report are

not reliable because Mr. Lanterman has not provided documentary evidence

that he graduated from Upsala College. Defendants argue that Mr. Lanterman’s

testimony and report are unreliable because they allege that he outright



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refused to provide any of the methodology he used to reach his opinions. Both

arguments fail.

       First, whether or not Mr. Lanterman was truthful about his attendance

at Upsala College is a question regarding the credibility of Mr. Lanterman and

the persuasiveness of the proffered evidence, not whether the evidence is

admissible.     Thus, striking Mr. Lanterman’s report and testimony on this

ground would be improper as those are questions appropriately determined by

a fact �inder. See id.

       Second, Defendants’ claim that Mr. Lanterman’s methodology is

unreliable because he “refused to describe any methodological process” is

inaccurate and readily contradicted by Mr. Lanterman’s declarations and full

testimony.     While Mr. Lanterman declined to detail speci�ic proprietary

methods that Computer Forensic Services uses in conjunction with the

commonly used tools relied on in the industry, Mr. Lanterman has provided

signi�icant detail on his methodology, processes and software used as part of

the investigation and analysis. 7



7 Notably, counsel for Defendants spent more time questioning Mr. Lanterman about other

cases and hypothetical situations than he did asking him details about Mr. Lanterman’s
report or �indings. Likewise, Defendants improperly attempted to use their forensic
consulting expert during the deposition to force Mr. Lanterman perform a separate analysis
of a forensic image in real time rather, again, than utilizing their own testifying expert to
rebut Mr. Lanterman’s �indings. (see generally Giftos Decl. ¶2, Ex. 1.)
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      Indeed, Mr. Lanterman described how he and his team used forensically

sound procedures to access and create forensic copies of Ms. Adams’ and Mr.

Williams’ Alliance-issued laptop computers in his declaration and in his

deposition. Mr. Lanterman described how they then analyzed those images by

reviewing Microsoft Outlook, email container �iles, browser history and

Windows operating records to determine that Adams and Williams had

emailed documents and information from their Alliance email accounts to their

personal accounts, communicated regarding an email with the subject “Trudy’s

List,” and attached USB devices to their Alliance-issued laptops. From there, he

created a timeline and record of activities he observed on those computers. He

also identi�ied some of the industry standard digital forensic software tools

used to create and analyze the forensic images in this case.

      Notably, Defendants don’t claim that the �indings of Mr. Lanterman’s

report are inaccurate. To the contrary, as set forth above, Defendants’ own

documents and forensic images in this case have con�irmed Mr. Lanterman’s

�indings.   This is unsurprising as, again, Mr. Lanterman’s methodology and

analysis are technically sound, reliable, and have been peer reviewed.

      The current scienti�ic foundations of digital forensics have been recently

reviewed and described in a November 2022 report published by the National

Institute of Standards and Technology (NIST) entitled “Digital Investigation

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Techniques: A NIST Scienti�ic Foundation Review.” (Giftos Decl., ¶29, Ex. 24.) To

address the question of the scienti�ic basis of digital investigation, NIST

examined the scienti�ic literature on digital forensics as well as information

from multiple other sources, including digital investigation techniques from

peer-reviewed sources, academic and classroom materials, technical guidance

from professional organizations and independently published resources. (See

id. at pp. 2, 2.)

       NIST noted that there are often multiple ways to search for digital

information and that two examiners may �ind different subsets of all potentially

relevant information. (Id., p. i.) The methods used in digital investigations are

often not peer-reviewed in a formal process, but trustworthiness is established

by members of the digital forensics community trying out proposed methods,

testing, and circulating updates within the community. (Id.)

       NIST found that digital evidence examination rests on a �irm foundation

based in computer science. (Id., p. 2.) Several of the techniques used have been

extensively studied and documented in peer-reviewed literatures. Others, as

set forth above, are documented more informally through community

discussion forums. (Id.) The application of these computer science techniques

to digital investigations is sound, only limited by the dif�iculties of keeping up

with the complexity and rapid pace of change in IT. (Id.)

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      While there are many ways to organize tasks performed in digital

investigation, NIST identi�ied the following “foundations” of the main digital

forensic tasks:

      • Protect original data from unintended modi�ication. This is

         accomplished using a variety of approaches depending on the type of

         device that contains the data.

      • Acquire digital data. This step is accomplished by copying data to an

         image �ile.

      • Ensure integrity of acquired data. Cryptographic hashing is used to

         ensure that if acquired digital data are changed inadvertently or

         deliberately the change can be detected.

      • Recover        deleted   data.    In   some     situations,    recovery   and

         reconstruction of deleted data make it possible to bring back deleted

         �iles (in whole or in part) or internal records from within an

         application �ile.

      • Navigate the acquired digital data. This is accomplished by

         unraveling, i.e., parsing the layout of the acquired data. This is best

         performed using a software tool.

      • Identify and extract data artifacts. Items of interest are identi�ied,

         located, and extracted.
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      • Analyze. Examination of extracted artifacts can help develop a

         narrative or reconstruction of relevant events for inclusion in a �inal

         report.

(See id., pp. 3, 30-31.) The techniques applied to a speci�ic case depend on the

type of information likely to be useful for understanding what happened. (Id.,

p. 21.) A digital investigation begins with an evaluation of the case context and

the digital devices being examined. (Id.) An examination of a seized mobile

phone from a suspected drug dealer might begin by reviewing contacts

(possible customers and collaborators) and messages (setting up illegal

transactions). (Id.) A suspected espionage case might require the examiner to

look for contraband (classi�ied documents), removable device history (moving

the contraband around), geolocator information (places the suspect has

visited), contacts (identify collaborators), messages (extraction of planned

actions) and deleted documents (hiding activity). (Id.)

      As set forth in Mr. Lanterman’s expert declarations and deposition, Mr.

Lanterman’s processes included the tasks identi�ied by NIST in forensic

investigations. Mr. Lanterman explained that prior to his investigation, he

familiarized himself with the allegations in the case by reviewing the complaint.

      Mr. Lanterman explained the steps used to collect and acquire the digital

data from Adams’ and Williams’ Alliance-issued laptops and preserve them

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onto forensic image �iles. He discussed using software tools to analyze the data

and to identity data artifacts. He also discussed using hashing to review and

validate data on the forensic image of Mr. Williams’ USB device. He analyzed

the information found throughout the investigation to develop a narrative or

reconstruction of relevant events for inclusion in a �inal report.

      Defendants have not produced any law or evidence that would support a

finding that Mr. Lanterman’s methods were unreliable. Instead, they simply cite

to cases wherein the experts in question provided absolutely no basis

whatsoever for their findings. Indeed, the first case they cite, U.S. v Frazier,

involved a sexual assault investigation and very different methods of

investigation. 387 F.3d 1244 (11th Cir. 2004). In that case the court excluded

the expert’s report as unreliable because he had not provided any specific basis

– qualitative, empirical or otherwise- for his opinions. See id. at 1265. (Holding

that an expert’s finding that certain materials “would be expected” in a sexual

assault analysis was not supported by proffered expert’s statement that this

expectancy would come from his experience alone without any further basis.”)

That is not the case here as, again, Mr. Lanterman has described his

methodology, tools and concreted findings in his report and in his deposition

(to the extent asked).



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      Likewise, in the FedEx Ground Package case cited by Defendants, the

claims at issue were for copyright infringement and trade secret

misappropriation regarding two versions of certain software programs. See

FedEx Ground Package System, Inc. v. Applications Intern. Corp., 695 F.Supp.2d

216 (W.D. Pa. 2010.) Specifically, the defendant claimed that FedEx, the

plaintiff, had improperly accessed and copied certain source code that had been

registered with the U.S. Copyright Office. See id. at 217-218. The court struck

the testimony of defendants’ forensic expert because: (1) the proffered expert

was testifying regarding legal conclusions and rendering legal opinions; and (2)

the proffered expert failed to set forth any reasoned methodology employed in

forming his opinions and instead simply referred to his life experience. See id.

at 221-224. Indeed, he did not mention any methodology used at all and

admitted that he did not even compare the source code that was at issue in the

case. See id. The FedEx Ground Package case is readily distinguishable to this

case as, again, Mr. Lanterman has explained his methodology, and he reviewed

and analyzed the materials at issue in this case. He has also testified that he is

not offering any legal opinions:

      Q.    Has there ever been an instance in which you were
            approached or retained by a plaintiff, provided analysis,
            concluding that there was no theft of trade secrets, and your
            services were not relied on in the litigation?


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      MS. GIFTOS: Object to form.

      A.    (continuing) I – I don’t know.

      Q.    Can you remember an instance like that?

      A.    I – the reason why I’m – I’m – I’m struggling to answer that is
            because I don’t think I’m qualified to determine if something
            is a trade secret or not.

            Often what our findings could be is whether or not data
            moved from one device to another or perhaps it was
            uploaded from a computer to a cloud account. It’s for
            someone else to determine if its intellectual property.

      Q.    I agree. And – and I’m sorry if my question was confusing for
            that reason. And – and, just to be clear, in this case, you are
            not providing any opinion about whether any of the
            materials at issue were protected by intellectual property.
            Correct?

      A.    Correct.

(Giftos Decl. ¶2, Ex. 1 at 22:1-23:1)

      In the third case cited by Defendants, U.S. v. Garner, the court excluded a

forensic expert’s opinions in a child pornography case because his opinions

themselves were not reliable. 2012 WL 6680395, *3 (“Here, the United States

does not challenge Mr. Moshlack’s credentials as a computer forensics expert

of the methodology he used (i.e. computer forensic examination using Forensic

Took Kit [software]. But the United States contends that Mr. Moshlak’s

conclusions are neither reliable nor relevant so he should not be allowed to


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testify at all during trial.”). Here, Defendants do not question Mr. Lanterman’s

findings and, again, his findings have been confirmed by the evidence produced

in this case. Defendants now simply question Mr. Lanterman’s credibility and

the reliability of his methodology.

      Finally, in the Troudt v. Oracle Corporation case cited by Defendants, the

plaintiffs in a class action claimed that the defendant violated ERISA by, inter

alia, allegedly paying excessive recordkeeping fees to the defendants’

recordkeeper and trustee for its 401(k) plan. 369 F. Supp.3d 1134, 1138 (D.

Colo. 2019). The expert was not a forensic expert, but was providing opinions

on what constituted a reasonable fee in the case. See id. The court noted that

in the Daubert analysis, identifying the methodology employed by an expert is

not a particularly high bar.          “Conceptually determining the witness’

methodology is as simple as asking … how did the witness reach his or her

opinion or conclusion.” The court found the proffered expert did not clear even

that low hurdle “because the facts on which [his opinion] was based are wholly

opaque.” See id. at 1139. He had relied only on his experience as an expert and

he proffered no analysis whatsoever that would permit a third party to recreate

his results. See id. The court noted that “’while experience may qualify an

expert…credentials alone to not suffice’ to establish that the expert’s opinion

has a reliable basis in fact. ‘Experience is not a methodology. Methodology is

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the process by which the expert relates his experience to the facts at hand in

order to reach an expert opinion.’” Id. (internal citations omitted).

      Again, that case is readily distinguishable. Mr. Lanterman is not relying

on his credentials as the basis for his expert opinion rather than a specific

methodology. To the contrary, Mr. Lanterman described his methodology in

his declarations and deposition (to the extent he was asked), he disclosed the

emails and documents he identified in his analysis, and he disclosed complete

copies of the forensic images that he created and relied upon, which would

readily permit a third-party expert to recreate his results.

      Mr. Lanterman’s methodology has been disclosed and is reliable.

      C.    MR. LANTERMAN’S METHODOLOGY IS RELEVANT.

      In addition to Mr. Lanterman being qualified and his methodology being

reliable, Mr. Lanterman’s analysis and opinions are highly relevant and would

assist the trier of fact in understanding Adams’ and Williams’ activities prior to

leaving their employment to join Laundrylux. They also confirm that the USB

drive produced by Williams is the same drive he used to download thousands

of documents days prior to resigning. Understanding Windows records and

email containers to identify activities is not something a lay witness is likely to

understand without Mr. Lanterman’s testimony.



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                                CONCLUSION

      Because Mr. Lanterman’s declarations and testimony meet the exacting

standards of Daubert, Defendants’ motion to strike should be denied.

Dated: March 28, 2025

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      I certify that on March 28, 2025, a true and correct copy of the foregoing

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send a notice of electronic �iling to all counsel of record.

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